Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 1 of 148 PageID:
                                  46979




                        Exhibit K
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 2 of 148 PageID:
                                  46980
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 3 of 148 PageID:
                                  46981
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 4 of 148 PageID:
                                  46982
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 5 of 148 PageID:
                                  46983
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 6 of 148 PageID:
                                  46984
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 7 of 148 PageID:
                                  46985
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 8 of 148 PageID:
                                  46986
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 9 of 148 PageID:
                                  46987
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 10 of 148 PageID:
                                  46988
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 11 of 148 PageID:
                                  46989
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 12 of 148 PageID:
                                  46990
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 13 of 148 PageID:
                                  46991
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 14 of 148 PageID:
                                  46992
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 15 of 148 PageID:
                                  46993
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 16 of 148 PageID:
                                  46994
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 17 of 148 PageID:
                                  46995
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 18 of 148 PageID:
                                  46996
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 19 of 148 PageID:
                                  46997
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 20 of 148 PageID:
                                  46998
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 21 of 148 PageID:
                                  46999
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 22 of 148 PageID:
                                  47000
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 23 of 148 PageID:
                                  47001
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 24 of 148 PageID:
                                  47002
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 25 of 148 PageID:
                                  47003
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 26 of 148 PageID:
                                  47004
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 27 of 148 PageID:
                                  47005
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 28 of 148 PageID:
                                  47006
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 29 of 148 PageID:
                                  47007
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 30 of 148 PageID:
                                  47008
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 31 of 148 PageID:
                                  47009
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 32 of 148 PageID:
                                  47010
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 33 of 148 PageID:
                                  47011
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 34 of 148 PageID:
                                  47012
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 35 of 148 PageID:
                                  47013
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 36 of 148 PageID:
                                  47014
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 37 of 148 PageID:
                                  47015
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 38 of 148 PageID:
                                  47016
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 39 of 148 PageID:
                                  47017
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 40 of 148 PageID:
                                  47018
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 41 of 148 PageID:
                                  47019
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 42 of 148 PageID:
                                  47020
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 43 of 148 PageID:
                                  47021
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 44 of 148 PageID:
                                  47022
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 45 of 148 PageID:
                                  47023
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 46 of 148 PageID:
                                  47024
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 47 of 148 PageID:
                                  47025
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 48 of 148 PageID:
                                  47026
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 49 of 148 PageID:
                                  47027
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 50 of 148 PageID:
                                  47028
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 51 of 148 PageID:
                                  47029
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 52 of 148 PageID:
                                  47030
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 53 of 148 PageID:
                                  47031
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 54 of 148 PageID:
                                  47032
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 55 of 148 PageID:
                                  47033
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 56 of 148 PageID:
                                  47034
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 57 of 148 PageID:
                                  47035
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 58 of 148 PageID:
                                  47036
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 59 of 148 PageID:
                                  47037
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 60 of 148 PageID:
                                  47038
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 61 of 148 PageID:
                                  47039
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 62 of 148 PageID:
                                  47040
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 63 of 148 PageID:
                                  47041
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 64 of 148 PageID:
                                  47042
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 65 of 148 PageID:
                                  47043
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 66 of 148 PageID:
                                  47044
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 67 of 148 PageID:
                                  47045
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 68 of 148 PageID:
                                  47046
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 69 of 148 PageID:
                                  47047
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 70 of 148 PageID:
                                  47048
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 71 of 148 PageID:
                                  47049
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 72 of 148 PageID:
                                  47050
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 73 of 148 PageID:
                                  47051
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 74 of 148 PageID:
                                  47052
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 75 of 148 PageID:
                                  47053
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 76 of 148 PageID:
                                  47054
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 77 of 148 PageID:
                                  47055
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 78 of 148 PageID:
                                  47056
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 79 of 148 PageID:
                                  47057
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 80 of 148 PageID:
                                  47058
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 81 of 148 PageID:
                                  47059
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 82 of 148 PageID:
                                  47060
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 83 of 148 PageID:
                                  47061
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 84 of 148 PageID:
                                  47062
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 85 of 148 PageID:
                                  47063
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 86 of 148 PageID:
                                  47064
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 87 of 148 PageID:
                                  47065
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 88 of 148 PageID:
                                  47066
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 89 of 148 PageID:
                                  47067
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 90 of 148 PageID:
                                  47068
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 91 of 148 PageID:
                                  47069
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 92 of 148 PageID:
                                  47070
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 93 of 148 PageID:
                                  47071
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 94 of 148 PageID:
                                  47072
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 95 of 148 PageID:
                                  47073
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 96 of 148 PageID:
                                  47074
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 97 of 148 PageID:
                                  47075
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 98 of 148 PageID:
                                  47076
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 99 of 148 PageID:
                                  47077
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 100 of 148 PageID:
                                   47078
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 101 of 148 PageID:
                                   47079
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 102 of 148 PageID:
                                   47080
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 103 of 148 PageID:
                                   47081
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 104 of 148 PageID:
                                   47082
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 105 of 148 PageID:
                                   47083
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 106 of 148 PageID:
                                   47084
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 107 of 148 PageID:
                                   47085
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 108 of 148 PageID:
                                   47086
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 109 of 148 PageID:
                                   47087
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 110 of 148 PageID:
                                   47088
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 111 of 148 PageID:
                                   47089
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 112 of 148 PageID:
                                   47090
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 113 of 148 PageID:
                                   47091
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 114 of 148 PageID:
                                   47092
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 115 of 148 PageID:
                                   47093
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 116 of 148 PageID:
                                   47094
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 117 of 148 PageID:
                                   47095
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 118 of 148 PageID:
                                   47096
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 119 of 148 PageID:
                                   47097
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 120 of 148 PageID:
                                   47098
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 121 of 148 PageID:
                                   47099
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 122 of 148 PageID:
                                   47100
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 123 of 148 PageID:
                                   47101
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 124 of 148 PageID:
                                   47102
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 125 of 148 PageID:
                                   47103
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 126 of 148 PageID:
                                   47104
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 127 of 148 PageID:
                                   47105
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 128 of 148 PageID:
                                   47106
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 129 of 148 PageID:
                                   47107
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 130 of 148 PageID:
                                   47108
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 131 of 148 PageID:
                                   47109
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 132 of 148 PageID:
                                   47110
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 133 of 148 PageID:
                                   47111
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 134 of 148 PageID:
                                   47112
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 135 of 148 PageID:
                                   47113
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 136 of 148 PageID:
                                   47114
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 137 of 148 PageID:
                                   47115
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 138 of 148 PageID:
                                   47116
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 139 of 148 PageID:
                                   47117
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 140 of 148 PageID:
                                   47118
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 141 of 148 PageID:
                                   47119
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 142 of 148 PageID:
                                   47120
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 143 of 148 PageID:
                                   47121
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 144 of 148 PageID:
                                   47122
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 145 of 148 PageID:
                                   47123
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 146 of 148 PageID:
                                   47124
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 147 of 148 PageID:
                                   47125
Case 3:16-md-02738-MAS-RLS Document 9741-6 Filed 05/07/19 Page 148 of 148 PageID:
                                   47126
